              Case 1:16-bk-00002              Document No. 3            Filed 02/09/16           Page 1 of 2


B2030 (Form 2030) (12/15)                                                                                            FILED
                                                                                                       ~           Distrtct Court


                                 United States Bankruptcy Court                                                  FEB       92016
                                    Saipan              District Of_Northern Marianas Islands f~or the Northern Mar~ana Islands


In    re Donald R. Browne
             Sarah A Browne                                                 Case No   _____________                  ~




Debtor                                                                      Chapter    13
                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 20 16(b), I certify that I am the attorney for the above
       named debtor(s) and that compensation paid to me within one year before the filing of the petition in
       bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
       contemplation of or in connection with the bankruptcy case is as follows:

       For legal services, I have agreed to accept                                       $ 4,500.00

       Prior to the filing of this statement I have received                                $ 4,500.00

       BalanceDue                                                                           $   0.00

2.     The source of the compensation paid to me was:

                   Debtor               LI Other (specify)
3.     The source of compensation to be paid to me is:

                   Debtor                El Other (specify)
4.               1 have not agreed to share the above-disclosed compensation with any other person unless they are
              members and associates of my law firm.

              LI i have agreed to share the above-disclosed compensation with a other person or persons who are not
              members or associates of my law firm. A copy of the agreement, together with a list of the names of the
              people sharing in the compensation, is attached.

 5.    In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
       case, including:

       a.     Analysis of the debtor s financial situation, and rendering advice to the debtor in determining whether to
              file a petition in bankruptcy;

       b.     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
              hearings thereof;
            Case 1:16-bk-00002                 Document No. 3                Filed 02/09/16            Page 2 of 2


B2030 (Form 2030) (12/15)

     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e,   [Other provisions as needed)




6.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                       CERTIFICATION

               I certify that the foregoing is a complete statcment of any ag~ ~in~ni or arrangement for payment to
            me for representation of the debtor(s) in this ha~Aruptcy p)cecclIr/

                                                 _~4LLIJ~~~
                                                   ~c ~
                                                      ~lgi2atlu

                                                   Fallon Law Office, LLC.
                                                      ifame of law Jirm
